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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NORTH DAKOTA

United States of America,                      )
                                               )
               Plaintiff,                      )      ORDER
                                               )
       vs.                                     )
                                               )      Case No. 1-17-cr-273
Jesse Mark Arrellano,                          )
                                               )
               Defendant.                      )


       Before the court is a Motion to Modify Detention Order filed by Defendant Jesse Arrellano.

(Doc. No. 41). The Defendant previously made his initial appearance in the District of California,

where the court there ordered he be detained pending transfer to North Dakota. (Doc. No. 33-5).

Once transferred, this court continued his detention pending trial. (Doc. No. 38). The Defendant

argues the court should release him because he needs to be a good father to his children, he has a

place to live, and he could obtain treatment. The United States opposes the motion. (Doc. No. 43).

       The court is not inclined to release the Defendant on any set of conditions. First, the court

notes there is a presumption of detention applicable to this case. Second, the Defendant has a lengthy

criminal history and now faces charges that could put him in a federal prison for a lengthy period of

time. Further, the Defendant has only limited ties to North Dakota. On the whole, the Defendant

remains a flight risk and a danger to the community such that he has not come close to overcoming

the applicable presumption of detention The court DENIES the Defendant’s motion. (Doc. No. 41).

       IT IS SO ORDERED.

       Dated this 21st day of February, 2018.

                                               /s/ Charles S. Miller, Jr.
                                               Charles S. Miller, Jr., Magistrate Judge
                                               United States District Court
